Case 8:24-cv-01801-PX Document 12-1 Filed 09/09/24 Page 1 of 7

SAMUEL I. WHITE, P.C. Retumra
FILE NO. 71-000135-22 Recher ity American Title
Meret
CONSIDERATION: $486,000.00 \AI7Z F(R Run RA
40, ASSESSED VALUE: $553,433.00 eee 22723
ree -7 wz
Heit. Hor, » TAX ID NO. 03-010791 4S
\ L
LAS 0°
= Ao THIS DEED IS EXEMPT FROM INCOME TAX WITHHOLDING PURSUANT
8

TO MARYLAND CODE TAX-GENERAL § 10-912(a)(7)(ID(1), § 10-912(a)(7)(ID(2), § 10-
912(d)(3)@), AND COMAR 03-04-12.03B(5)(a). Transferor certifies that this is a transfer

of REO property acquired by the Grantor in a foreclosure action and conveyed herein to a
third party.

THIS DEED, made into this 22_ day of __ November , 2022, by and between WILMINGTON
SAVINGS FUND SOCIETY, FSB, NOT INDIVIDUALLY BUT SOLELY AS TRUSTEE FOR
FINANCE OF AMERICA STRUCTURED SECURITIES ACQUISITION TRUST 2019-HB1,
GRANTOR, and ASHLEY NANCE, JOAN SPENCE AND GUY MARTIN, GRANTEE(S),
whose mailing address is: 224 Broadway, Centreville, MD 21617.

WITNESSETH:

That for and in consideration of the sum of Four Hundred Eighty-Six Thousand Dollars
and 00/100 ($486,000.00) and other good and valuable considerations the receipt of which is
hereby acknowledged, and which the Grantor certifies under penalty of perjury as the actual '
consideration paid or to be paid, including the amount of any mortgage or deed of trust
outstanding, the Grantor does hereby grant and convey unto ASHLEY NANCE, JOAN SPENCE
and GUY MARTIN, with SPECIAL WARRANTY, as joint tenants with rights of survivorship,
in fee simple, all that property situate and located in Queen Anne's County, Maryland, and more
particularly described as: -

SEE ATTACHED EXHIBIT “A” FOR THE LEGAL DESCRIPTION

THIS DEED IS HEREBY EXECUTED PURSUANT TO THAT POWER OF
ATTORNEY FROM WILMINGTON SAVINGS FUND SOCIETY, FSB, NOT
INDIVIDUALLY BUT SOLELY AS TRUSTEE FOR FINANCE OF AMERICA
STRUCTURED SECURITIES ACQUISITION TRUST 2019-HB1 TO COMPULINK
CORPORATION, DBA CELINK, DATED JULY 11, 2019 AND RECORDED
NOVEMBER 09, 2022 IN BOOK 4411 AT PAGE 65, AMONG THE LAND
RECORDS OF THE COUNTY OF QUEEN ANNE, MARYLAND, HAS NOT
RESCINDED.

Being commonly known as 224 Broadway, Centreville, MD 21617
Tax Identification No. 03-010791

TOGETHER with the buildings and improvements thereon erected, made or being; and
ali and every, the rights, alleys, ways, waters, privileges, appurtenances and advantages thereto
belonging, or in anywise appertaining.

TO HAVE AND TO HOLD the said described lot(s) of ground and premises thereto for

the proper use of the Grantee(s), their successors, survivors, and/or assigns, in fee simple.

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Case 8:24-cv-01801-PX Document 12-1 Filed 09/09/24 Page 2 of 7

AND the said Grantor does hereby covenant that they have not done or suffered to be
done any act, matter or thing whatsoever, to encumber the property hereby conveyed; that they

will warrant specially the property hereby granted; and that they will execute such further

assurances of the same as may be requisite.

WITNESS the following signature and seal:

WILMINGTON SAVINGS FUND SOCIETY,
FSB, NOT INDIVIDUALLY BUT SOLELY AS
TRUSTEE FOR FINANCE OF AMERICA
STRUCTURED SECURITIES ACQUISITION
TRUST 2019-HB1

» HE — (SEA)

RES ‘Com. authotized agent for Compu-Link

‘Corporation, Alba Celink as Attorney-in-Fact.
Ryan Hennessy, Senior Vice President

STATE OF Pennsylvania
CITY/COUNTY OF Montgomery , to wit:

Before me, a Notary Public in and for the jurisdiction aforesaid, personally appeared this
date, Nov. 22, 2022 , personally who acknowledged himself/herself to be the
Senior Vice President , an officer of LRES Corp., authorized agent for Compu-Link Corporation,

dba Celink as Attorney-in-Fact for the Grantor corporation herein, who, being by me first duly
sworn, did acknowledge that he/she, as such officer, being authorized so to do, executed the
foregoing instrument for the uses and purposes therein contained and that said conveyance is not

a conveyance of all or substantially all of the assets of said corporate grantor herein.

WITNESS my hand and official seal this 22nd day of November, 2022.

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a CAL By
Heather M. Deal j $y : s

ne
<
Notary Public | Commonwealth of Pennsylvania - Notary Sea al

Heather M. Deal, Notary Public
Montgomery County
My commission expires October 27, 2023
Commission number 1265271

My commission expires: 10/27/2023

I hereby certify that the within instrument was prepared under the supervision of an

attorney admitted to practice before the Court of Appeals of Maryland.
PREPARED BY:

Samuel I. White. P.C E, Edward Farnsworth, Jr., Esq.

596 Lynnhaven Pkwy., Ste. 200
Virginia Beach, VA 23452

File No. 71-000135-22 oo _ RECEIVED FOR TRANSFER.
DATEL 023

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PAID TR AGIA sho TOWN COUNCIL OF CENTREVILLE MD

Case 8:24-cv-01801-PX Document 12-1 Filed 09/09/24 Page 3 of 7

EXHIBIT “A”
LEGAL DESCRIPTION FOR
224 BROADWAY, CENTREVILLE, MD 21617

ALL THAT LOT OR PARCEL OF LAND SITUATE, LYING AND BEING IN THE TOWN
OF CENTREVILLE, IN THE THIRD ELECTION DISTRICT OF QUEEN ANNE'S COUNTY,
STATE OF MARYLAND, DESIGNATED AS "ESTATE OF J. OLIN PIPPIN, AREA = 1.41
ACRES" ON A PLAT ENTITLED "MAP SHOWING PROPERTY BEING ACQUIRED BY
BD. OF EDUCATION OF QUEEN ANNE'S CO., MD FOR CENTREVILLE HIGH SCHOOL"
DATED JANUARY 1955, AND RECORDED AMONG THE LAND RECORDS OF QUEEN
ANNE'S COUNTY, MARYLAND, IN LIBER T.S.P. NO. 20, FOLIO 165.

BEING THE SAME PROPERTY CONVEYED TO Wilmington Savings Fund Society, FSB,
not individually but solely as trustee for Finance Of America Structured Securities Acquisition
Trust 2019-HB1 BY DEED FROM William M. Savage, Sole Acting Substitute Trustee, 10021
Savings Fund Society, FSB DATED October 3, 2022 AND RECORDED October 17, 2022
AMONG THE LAND RECORDS OF QUEEN ANNE'S COUNTY, MARYLAND, IN LIBER
4128, FOLIO 0103.
Case 8:24-cv-01801-PX Document 12-1 Filed 09/09/24 Page 4 of 7
Certification of First-Time Homebuyer-Owner/Occupant:

The undersigned state under penalties of perjury that the contents of this affidavit are true to the best
of his/her/their knowledge, information and belief:

1. that each is a FIRST-TIME HOMEBUYER as defined under Section 13-203 of the Tax Property
Volume of the Maryland Annotated Code* of the property located at, 224 Broadway,

Centreville, MD 21617being residentially improved real property, and being more
particularly described as,

ALL THAT LOT OR PARCEL OF LAND SITUATE, LYING AND BEING IN THE TOWN OF CENTREVILLE, IN THE THIRD
ELECTION DISTRICT OF QUEEN ANNE'S COUNTY, STATE OF MARYLAND, DESIGNATED AS "ESTATE OF J. OLIN PIPPIN,
AREA = 1.41 ACRES" ON A PLAT ENTITLED. "MAP SHOWING PROPERTY BEING ACQUIRED BY BD, OF EDUCATION OF
QUEEN ANNE'S CO., MD FOR CENTREVILLE HIGH SCHOOL” DATED JANUARY 1955, AND RECORDED AMONG THE LAND
RECORDS OF QUEEN ANNE'S.COUNTY, MARYLAND, IN LIBER T.S.P. NO. 20, FOLIO 465.

Queen Anne's County, Maryland: and

*FIRST-TIME HOMEBUYER is defined as “an individual who has never owned in the State (of
Maryland) residential real property that has been the individual's principal residence”

2. that the undersigned will occupy the herein described property as his/her/their principal
residence by actually occupying the residence for at least 7 months of a 12 month period; and

3. that this statement, if executed by an attorney-in-fact, the attorney-in-fact does hereby

certify that he/she has made a diligent inquiry with respect to the fact herein and it is true to the best of
his/her knowledge, information and belief.

This affidavit is being executed in order to qualify for and obtain a partial exemption from the applicable
Maryland State Transfer Tax of an amount equivalent of .25 of 1% of the consideration stated on the
attached Deed for real property described above, pursuant to the aforesaid Statute.

NOTE: All Grantees must sign.

K Lay Wz L Z (SEAL)

t
Buyer: GUY MARTIN

% PRe ce | $—_~_ (SEAL)

Buyer: JOAN SPENCE

SUBSCRIBED Ne SWORN ‘ before me, a Notary in and for th¢ State of; cdunty of

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YAELY E MEJIA | KN
NOTARY PUBLIC <> rH
MONTGOMERY COUNTY othry Public YY
MARYLAND
My Com idMarGQmreission Expires 03-18-2026 My Notary Number:

71-000135-22
Case 8:24-cv-01801-PX Document 12-1 Filed 09/09/24 Page 5of7

Certification of First-Time Homebuyer-Owner/Occupant:

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AREA = 1.41 ACRES" ON A PLAT ENTITLED "MAP SHOWING PROPERTY BEING ACQUIRED BY BD. OF EDUCATION OF |
QUEEN ANNE'S CO.,.MD FOR CENTREVILLE HIGH SCHOOL" DATED JANUARY 1955, AND RECORDED AMONG THE LAND
RECORDS OF QUEEN-ANNE'S.COUNTY, MARYLAND, IN LIBER T.S.P..NO, 20, FOLIO 165.

Queen Anne's County, Maryland: and

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NOTE: All Grantees must sign.

} /

ASHLEY NANCE

SUBSCRIBED AND SWORN to before me, a Notary in and for the State of; County of

ATA MIC this LEITA day of Lehr 90
YAELY & MEJIA \
NOTARY PUBLIC 4 =a
i Notary Public —~
abe eM
My Commiigsfanigpnpesion Expires 03-18-2026 | My Notary Number:

71-000135-22
Case 8:24-cv-01801-PX Document 12-1 Filed 09/09/24 Page 6 of 7
DISCLOSURE AND ACKNOWLEDGMENT OF

RECEIPT OF TITLE INSURANCE COMMITMENT

File Number: 71-000135-22

Property: 224 Broadway, Centreville, MD 21617 Gud)

oo, vst cay
Name of title insurance company: L TITLE INSURANCE COMPANY

ACKNOWLEDGMENT OF RECEIPT OF COMMITMENT

We the purchasers of the above referenced property hereby acknowledge that we have received a
copy of the title insurance commitment and have had the opportunity to review the commitment.
We understand that the items listed as exceptions on this commitment will appear as exceptions on
the final title insurance policy issued by the above referenced title insurance company and that said
company will not provide any coverage to the insured for matters that pertain to the listed
exceptions. Any requirement shown in the commitment will also appear in the final title insurance
policy unless the same are disposed of to the satisfaction of said

company.
For Maryland properties:

We also acknowledge that the final title insurance policy will contain specific exceptions for any
matters affecting the above referenced property that were recorded in the land records after the date
of this commitment but prior to the time the deed conveying title to us is recorded in the land
records. This period of time is referred to as the “Gap Period

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ASHLEY NANCE . JOAN SPENCE
Hf
auyerd adi Ufa 5 Buyer:
GUY MARTIN

6 ofiy /20e3

Date:

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Ay RRA dogument i2-1 Filed 09/09/24 Page 7 of 7

Notice of Availability of Owner's Title insurance
To: ASHLEY NANCE, JOAN SPENCE AND GUY MARTIN

Date: 02/14/2023

Buying property identified as: 224 Broadway, Centreville, MD 21617

A Mortgagee's Policy of title insurance insuring the title to the property you are buying is being
issued to your mortgage lender, but the policy does not provide title insurance coverage to you.

You may obtain an Owner's Policy of title insurance which provides title insurance coverage to you.
The additional cost to you for an Owner's Policy of title insurance is in the amount of $486,000.00 is
$2,777.00, if you request it at this time.

if you are uncertain as to whether you should obtain an Owner's Policy of title insurance, you are
urged to seek independent advice.

Fidelity National Title Insurance Company
_X___ We do request an Owner's Policy of title insurance.(**PAID BY SELLER**)

I/We do not request an Owner's Policy of title insurance.

Date: 02| LY | LO
Buyer: Osx WL. Van Ck

ASHLEY NANCE \

Buyer: S&S. wn Sh 8s

JOAN SPENC

f 4]
Buyer: Lp - Tip

GUY MARTIN

